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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 1, 2019:


      MINUTE entry before the Honorable Charles R. Norgle as to Asif A Aslam: Enter
Agreed Order. Sentencing is continued to 11/12/2019 at 10:30 a.m. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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